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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00452-WJM-SKC
   TIFFANY GRAYS,

                     Plaintiff,

   v.

   NAVIENT SOLUTIONS, LLC,
   EQUIFAX, INC.,
   EXPERIAN INFORMATION SOLUTIONS, INC.,
   TRANS UNION, LLC, and
   INNOVIS DATA SOLUTIONS, INC.,

                     Defendants.


         DEFENDANT NAVIENT SOLUTIONS, LLC’S RESPONSE TO “PLAINTIFF’S
          MOTION TO COMPEL DEFENDANT’S COMPLIANCE WITH DISCOVERY
        RULES, [FOR] SANCTIONS, TO AMEND THE SCHEDULING ORDER, AND [TO]
                         STAY PROCEEDINGS” (ECF NO. 166)


              Defendant Navient Solutions, LLC (“NSL”), by and through undersigned counsel, submits

   this response in opposition to “Plaintiff’s Motion to Compel Defendant’s Compliance with

   Discovery Rules, [for] Sanctions, to Amend the Scheduling Order, and [to] Stay Proceedings”

   (“the Motion” or “Plaintiff’s Motion”). (ECF No. 166.) NSL also respectfully requests that the

   Court consider exercising its inherent authority to impose sanctions against Plaintiff, as the Court

   sees fit, to deter the vexatious conduct Plaintiff has demonstrated through her recent filings.

                                        I. PLAINTIFF’S MOTION

              Plaintiff requests that the Court “compel Defendant to comply with Fed. R. Civ. P. 26 and

   30, through Fed. R. Civ. P. 37(a)(3)(A)-(B)(ii), as well as Stay Proceedings until a decision is made

   on this matter” (id. at 1), and asks the Court to impose sanctions against NSL for what she deems

   as NSL’s “dilatory discovery dance of avoidance” (id. at 10). In support of these requests, Plaintiff

   asserts:
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           Defendant’s counsel’s refusal to adhere to the Federal Rules of Civil Procedure has
           prejudiced the pro se Plaintiff by inducing her through affirmations of Notice of
           Deposition service to deponents Plaintiff sought – not only by the original counsel
           in this matter Mr. Jordan O’Donnell in 2020, but also by current counsel Mr.
           Michael Kaufmann in 2022 - two days before two of material deponents
           suspiciously “no longer work for Navient;” seemingly justification of Defendant’s
           counsel’s relinquishment of the duty to make the two deponents available after
           accepting service on behalf of the deponents; clearly substantiating compelling and
           sanctions.

   (Id. at 1.)

       A. PLAINTIFF’S CERTIFICATION IS INACCURATE AND MISLEADING

           Plaintiff certifies to the Court that she “in good-faith attempted to confer” with NSL’s

   counsel about her motion and that the motion is “unopposed.” (Id. at 2.) Neither contention is

   correct.

           Plaintiff emailed counsel for NSL at 11:59 p.m. on January 20, 2022, requesting counsel’s

   availability for a conferral call on January 24 or 28. Undersigned counsel, who was working late

   in order to attend a friend’s wedding the following day, promptly emailed her three minutes later

   to inform her that he was not available either day. Counsel continued to correspond with Plaintiff

   until 1:07 a.m. that morning, when he asked her to please stop emailing him. Plaintiff sent a final

   email at 2:13 a.m. (See ECF No. 165-1 at 23.)

           After Plaintiff’s final email at 2:13 a.m. on January 21, 2022, Plaintiff never again

   requested to confer with counsel for NSL regarding the relief she seeks in her motion, which she

   filed over two months later on March 25, 2022.

           Plaintiff also represents to the Court that NSL does not oppose this and her

   contemporaneously filed—and largely verbatim—motion (ECF No. 165). Of course, that is not

   true—NSL vigorously opposes this Motion and its counterpart.

       B. PLAINTIFF’S REQUEST FOR “SANCTIONS AND COMPELLING PURSUANT
          TO RULES 30 AND 37” IS MERITLESS
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           Plaintiff’s demand to compel and sanction NSL should be denied.

           Federal Rule of Civil Procedure 26(a)(1)(A) provides that “a party must, without awaiting

   a discovery request,” disclose “the name and, if known, the address and telephone number of each

   individual likely to have discoverable information—along with the subjects of that information—

   that the disclosing party may use to support its claims or defenses, unless the use would be solely

   for impeachment.” Fed. R. Civ. P. 26(a)(1)(A)(i). Rule 26(e) requires that a disclosing party

   supplement its disclosures “in a timely manner if the party learns that in some material respect the

   disclosure or response is incomplete or incorrect, and if the additional or corrective information

   has not otherwise been made known to the other parties during the discovery process or in writing,”

   or as ordered by the Court. Fed. R. Civ. P. 26(e).

           Plaintiff asserts:

           Defendant’s discovery dance commenced with it’s [sic] failure to make initial
           disclosures, failure to produce all relevant evidence, failure to appropriate [sic]
           respond to discovery requests, in addition to the failure to provide the name,
           address, and telephone number of individuals which Defendant’s counsel affirmed
           only in response to Plaintiff’s request to depose the individuals Defendant “agree[s
           they] are appropriate deponents.”

   (ECF No. 166 at 5 (quoting ECF No. 165-1 at 2).) She further claims that “there are almost 25

   individuals who performed some action relevant to Plaintiff’s claims and/or Defendant’s defense,

   yet Defendant’s Initial Disclosures (Exhibit 6) – the only disclosures provided – fail to provide

   any contact information as required in Fed. R. Civ. P. 26(a)(1)(A)(i). When asked to supplement,

   Defendant’s [sic] have refused . . . .” (Id.)

           Plaintiff’s contentions are false.      NSL has fully complied with its disclosure and

   supplementation obligations under the Rules. NSL’s initial disclosures identify the names and

   contact information of “individuals likely to have discoverable information—along with the

   subjects of that information—that the disclosing party may use to support its claims or defenses.”
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   See Fed. R. Civ. P. 26(a)(1)(A)(i). NSL has had no duty to supplement these disclosures because

   they are not “incomplete or incorrect,” and because it already notified Plaintiff, in writing, of the

   identities of all individuals she now intends to depose. See Fed. R. Civ. P. 26(e). NSL has

   supplemented its discovery responses as required by the Court, and Plaintiff has not identified any

   such responses that she now claims are deficient.

          As best as NSL can determine, the “almost 25 individuals” referenced in Plaintiff’s Motion

   (see ECF No. 166 at 5) are, or were, NSL employees or contractors whose identification numbers

   (referred to as E- or C-numbers, respectively) appeared in the files for Plaintiff’s loans that NSL

   produced in discovery. Nearly all of these individuals performed merely clerical tasks, and none

   possess “discoverable information . . . that [NSL] may use to support its claims or defenses.” See

   Fed. R. Civ. P. 26(a)(1)(A)(i). (Plaintiff only identified five individuals in her ineffective Notice

   to NSL.)

          NSL—attempting to work with Plaintiff in good faith—notified her that it agreed that two

   of the five individuals identified in her ineffective Notice (and presumably amongst the “almost

   25 individuals” Plaintiff references in her Motion) would be appropriate fact witness deponents in

   this case. Still, neither of these two individuals—Kimberly Williams and Michael Madonna—have

   any unique information that NSL may use to support its claims or defenses, nor any information

   that could not also be testified about by NSL’s Rule 30(b)(6) representative—if they even recall

   any relevant facts at all. Counsel and their client representative later discovered that neither Ms.

   Williams or Mr. Madonna are currently employed by NSL, and counsel promptly notified Plaintiff

   of this. Counsel did not have current contact information for these former employees and Plaintiff

   never requested it.
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            Plaintiff has not identified any basis in fact or law upon which the Court should compel or

   sanction NSL.

       C. PLAINTIFF’S REQUEST TO AMEND THE SCHEDULING ORDER IS
          MERITLESS

            Plaintiff’s request that the Court further amend the scheduling order should be denied.

            Federal Rule of Civil Procedure 16 provides that “[a] schedule may be modified only for

   good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4); accord Strope v. Collins, 315

   F. App’x 57, 61 (10th Cir. 2009).

            According to Plaintiff: “By and through all paragraphs in this Motion, Plaintiff has

   established that Defendant’s delayed document production, refusal to fully respond, and the vast

   amount of time it has cost the Plaintiff are of such a nature Defendant’s conduct has hampered

   [Plaintiff’s] ability to prosecute her claims.” (ECF No. 166 at 6.) Further, she claims: “Plaintiff

   diligently sought depositions and was denied the ability to do so through no control of her own as

   affirmed in the aforementioned arguments.” (Id. at 7.) Finally, “Plaintiff seeks to modify the

   scheduling Order only to allow Plaintiff to request the employee files of Defendant’s employees .

   . . .” (Id.)

            None of the paragraphs in Plaintiff’s Motion support her arguments. Plaintiff has not

   identified, either in her Motion or to NSL, any document requests NSL improperly responded to

   or delayed in responding to. She asserts that she “diligently sought depositions and was denied the

   ability to do so through no control of her own,” and blames NSL for “the vast amount of time it

   has cost the Plaintiff” (presumably to obtain depositions). But any delay in that regard is due

   exclusively to Plaintiff’s refusal to confer as NSL repeatedly requested. (See ECF No. 171 at 1–4;

   see also generally ECF Nos. 171-1, 171-2, 171-3, 171-4, 171-5, .) Nor has Plaintiff been diligent

   in her efforts to amend the scheduling order. She waited at least two months from the time she
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   determined such amendment was necessary before finally filing this motion—during which she

   did not make any meaningful attempts to confer.

           Finally, even if Plaintiff had acted reasonably and promptly, her purpose for requesting

   amendment of the scheduling order is meritless. Plaintiff claims the scheduling order must be

   amended “only to allow Plaintiff to request the employee files of Defendant’s employees who were

   available for deposition on January 18, 2022 as confirmed by Mr. Kaufmann, only to have Mr.

   Kaufmann state two days later on January 20, 2022 that he was notified ‘that Michael Madonna

   and Kim Williams are no longer with NSL [Defendant].’” (See ECF No. 166 at 7 (citation omitted)

   (alteration in original).)

           But the employee files of Ms. Williams and Mr. Madonna (or any other current or former

   NSL employee) have no relevance to the issues in this case; nor can Plaintiff overcome the special

   privacy protections for employee personnel information from Corbetta v. Albertson’s, Inc., 975

   P.2d 718, 721 (Colo. 1999) (finding error where the “trial court simply found that the information

   requested by Corbetta might be relevant and ordered the petitioner to produce the requested

   personnel files in their entirety”).1 Additionally, Plaintiff never served Rule 34 requests to NSL to

   produce employee files—if she had, NSL would have raised the same objections it does here.

   Further, Plaintiff never served deposition subpoenas upon NSL, Ms. Williams, or Mr. Madonna—




   1
     Federal trial courts in the District of Colorado have relied on Colorado’s law regarding
   confidentiality and protection of commercial information. See Bonanno v. Quizno’s Franchise Co.,
   LLC, 255 F.R.D. 550, 554 (D. Colo. 2009) (holding “that if a state doctrine promoting
   confidentiality does not conflict with federal interests, it may be taken into account as a matter of
   comity, the Court finds it proper to consider any relevant state doctrines of confidentiality”) (citing
   Corbetta, 975 P.2d at 720–21; Gottlieb v. Wiles, 143 F.R.D. 235, 237 (D. Colo. 1992); Alcon v.
   Spicer, 113 P.3d 735 (Colo. 2005)).
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   despite NSL’s counsel’s informing her on several occasions that her deposition notice, as served

   and in its current form, was ineffective.2

           Plaintiff’s request to amend the scheduling order to allow her to seek the employment files

   of NSL employees is, at best, meritless—and, at worst, pretextual and harassing. But, in either

   case, it does not constitute the good cause contemplated by Rule 16.

       D. PLAINTIFF’S REQUEST TO STAY PROCEEDINGS IS MERITLESS

           Plaintiff’s request to stay proceedings should also be denied.

           Plaintiff asks the Court to “[s]tay [p]roceedings until a decision is made on this [Motion].”

   Plaintiff claims that undersigned counsel hoodwinked her through “mendacity” and misconduct;

   that “Defendant’s counsel’s refusal to adhere to the Federal Rules of Civil Procedure has

   prejudiced the pro se Plaintiff by inducing her through affirmations of Notice of Deposition service

   to deponents Plaintiff sought – not only by the original counsel in this matter Mr. Jordan O’Donnell

   in 2020, but also by current counsel Mr. Michael Kaufmann in 2022 - two days before two of

   material deponents suspiciously ‘no longer work for Navient’ . . . .” (ECF No. 166 at 1.) Plaintiff

   alleges that undersigned counsel so bamboozled her as “justification of [his] relinquishment of the

   duty to make the two deponents available after accepting service on behalf of the deponents;

   clearly substantiating compelling and sanctions.”

           Each of these claims is frivolous. Counsel notified Plaintiff as soon as he and NSL’s client

   contact learned that Ms. Williams and Mr. Madonna no longer worked for NSL—before Plaintiff

   even served her (defective) “Notice.” Plaintiff proceeded to serve her notice anyway, which



   2
    As NSL explained in its motion for protective order and in multiple emails to Plaintiff, Plaintiff’s
   Notice is plainly ineffective as to the individuals identified therein, as none are parties to this suit;
   nor are they officers, directors, or managing agents of NSL. (ECF No. 171 at 1, 14–16, 18.) Further,
   Plaintiff’s Notice did not actually request the deposition of Mr. Madonna. (See generally ECF No.
   171-6.)
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   identified Ms. Williams (but not Mr. Madonna), and counsel again reminded her that Ms. Williams

   is not an employee of NSL. Further, Plaintiff’s Notice is ineffective to compel deposition

   attendance by any individuals identified therein—as counsel repeatedly told Plaintiff. See, e.g.,

   Fed. R. Civ. P. 45; Dubai Islamic Bank v. Citibank, N.A., No. 99-cv-1930-RMB-TH, 2002 WL

   1159699, at *2 (S.D.N.Y. May 31, 2002). NSL and its attorneys could not have “relinquish[ed]

   the duty to make the two deponents available” because it never had such a duty.3

          Plaintiff further relies on String Cheese Incident, LLC v. Stylus Shows, Inc., No. 1:02–cv–

   01934–LTB–PAC, 2006 WL 894955, at *2 (D.Colo. Mar. 30, 2006), and, apparently, Lieblein on

   behalf of W. Union Co. v. Ersek, No. 14-CV-00144-MSK-KLM, 2015 WL 1840548, at *1 (D.

   Colo. Apr. 20, 2015). String Cheese Incident articulated five factors to weigh when the Court

   considers a party’s motion to stay: “(1) [the non-moving party’s] interests in proceeding

   expeditiously with the civil action and the potential prejudice to [the non-moving party] of a delay;

   (2) the burden on the [moving party]; (3) the convenience to the court; (4) the interests of persons

   not parties to the civil litigation; and (5) the public interest. String Cheese Incident, 2006 WL

   894955, at *2 (citing FDIC v. Renda, No. 85–2216–O, 1987 WL 348635, at *2 (D. Kan. 1987)).

          Most of Plaintiff’s application of these factors is inaccurate, incomplete, or incoherent. (It

   seems Plaintiff copied much of it, with minimal alterations, from another case in which the

   defendants had filed pre-answer motions to dismiss “focus[ed] on the jurisdictional issue of

   standing” and sought to stay the case whilst it was pending.)

          For example, it is not true that “Defendant is not opposed to a stay and therefore

   presumably will not suffer any prejudice from the imposition of a stay.” (See ECF No. 166 at 8.)



   3
    On top of that, at no point did counsel “accept[] service” of the Notice on behalf of anyone but
   NSL, his client. Rather, Plaintiff was told repeatedly that counsel would accept service of a
   subpoena.
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   NSL opposes any stay. Plaintiff is also wrong to assert that, “[i]f the case remains ‘in a stagnant

   state’ on the Court’s docket due to a stay, judicial economy is enhanced, as is convenience to the

   Court.” Indeed, there are no pending motions to dismiss that could render a stay economical .

   Simply put, Plaintiff has no basis to claim that “it is certainly more convenient for the Court to

   stay discovery until it is clear that the case will proceed,” or to assert that

           unnecessary expenditures of public and private resources on litigation will be
           minimized by a stay, judicial resources will likely ultimately be conserved by
           addressing dispositive issues early in the litigation, and both judicial and attorney
           resources will likely be conserved by clarifying and resolving disputed legal issues
           at the earliest possible time.

   (Id.)

           Finally, Plaintiff argues: “The investigation has [sic] evidence that has not been disclosed

   and is material to Plaintiff’s claims that Defendant incorrectly reported the 150-day late payment

   to the Credit Reporting Agencies and the communication surrounding that determination.” (Id. at

   9.) She concludes by stating that she

           has depositions scheduled and needs this information to ask pertinent questions to
           deponents. Plaintiff would also like to depose the investigator, as the investigator
           is a part of this case, as the investigators ordered Defendant to remove the 150-day
           (ECF No. 165-5 at p.2) late payment from Plaintiff’s consumer credit report, yet no
           evidence of the action has been released. In sum, it is best that discovery proceed
           on one track wherever possible.”

   (Id. at 9–10.) This appears to reference her subpoena for documents to the Colorado Attorney

   General and her new request, first raised in her other March 25, 2022 motion (ECF No. 165), to

   depose an “investigator” for the Attorney General’s Office.

           Yet, none of these conflicting arguments warrant a stay. Plaintiff has unequivocally failed

   to show that she is entitled to a stay under the String Cheese Incident factors, even ignoring the

   inaccuracies and falsehoods in her motion. NSL has a strong interest in proceeding as expeditiously

   as possible and would suffer prejudice if the case is stayed; there is no pre-answer motion to
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    dismiss pending, and thus denying a stay would not burden Plaintiff by forcing her to engage in

    pointless discovery; a stay provides no convenience to the Court; and a stay would deny the

    public’s interest in conserving judicial resources by “secur[ing] the just, speedy, and inexpensive

    determination” of this case (see Fed. R. Civ. P. 1). See String Cheese Incident, 2006 WL 894955,

    at *2.

             Further, Plaintiff’s renewed effort to obtain documents from the Attorney General—and

    her new request for a deposition of the Attorney General’s Office and its “investigator”—support

    neither a stay of the case nor her request to amend the scheduling order. These documents and the

    newly requested deposition are irrelevant to Plaintiff’s claims and NSL’s defenses.4

             Ultimately, Plaintiff’s demand to stay the case (and simultaneously to amend the

    scheduling order) bears all the marks of subterfuge. Plaintiff received the Attorney General’s

    response denying her subpoena almost five months ago, on November 3, 2021. (ECF No. 165-3

    at 1 (November 3, 2021 letter to Plaintiff from the Attorney General’s Office); accord ECF No.

    165-4 at 1 (November 3, 2021 email to Plaintiff from the Attorney General’s Office).) She

    thereafter failed to move to compel or otherwise try to obtain what she now claims to be crucial

    information from the Attorney General. Instead, she tried to unilaterally schedule the depositions

    of NSL and (via defective notice) numerous of its current and former employees for the last two

    days of the discovery period, April 14 and 15, 2022 (despite NSL’s objections and attempts to

    confer). Now, on the eve of the parties’ discovery cutoff and having waited nearly five months to

    bring NSL’s supposed “discovery dance” to the Court’s attention, Plaintiff seeks a stay and to

    amend the scheduling order to be given a reprieve from her own failure to effectively conduct




    4
     In any event, it does not appear Plaintiff truly wants a stay, since she apparently intends to conduct
    discovery while the case is stayed. (See generally ECF Nos. 165, 166.)
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    discovery. This failure should not be borne by NSL and Plaintiff should not be given additional

    time to try to harass NSL into submission.

           Because of this vexatious conduct, NSL respectfully requests that the Court consider

    imposing sanctions against Plaintiff under its inherent authority, in whatever manner the Court

    deems appropriate and sufficient to deter Plaintiff’s ongoing, vexatious conduct. “Federal courts

    have certain ‘inherent powers’ which are not conferred by rule or statute ‘to manage their own

    affairs so as to achieve the orderly and expeditious disposition of cases.’” Jamieson v. Hoven

    Vision LLC, No. 20-CV-1122-WJM-KLM, 2020 WL 7043865, at *3 (D. Colo. Dec. 1, 2020)

    (quoting Link v. Wabash R. Co., 370 U.S. 626, 630–31 (1962)). “Among these powers is the court’s

    ‘ability to fashion an appropriate sanction for conduct which abuses the judicial process.’” Id.

    (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 44–45 (1991)) (citing Rice v. NBCUniversal

    Media, LLC, 2019 WL 3000808, at *3–*4 (S.D.N.Y. July 10, 2019)). Plaintiff has demonstrated,

    beyond any doubt, that she will continue her vexatious and abusive conduct unless and until the

    Court takes action to stop it. (See, e.g., ECF Nos. 165, 166, 171, and all accompanying exhibits.)

    NSL thus asks this Court to consider the imposition of sanctions under its inherent authority, in

    whatever form it believes adequate to deter Plaintiff’s conduct.

                                           II. CONCLUSION

           NSL requests that the Court deny Plaintiff’s Motion in its entirety. NSL further requests

    that the Court consider exercising its inherent authority to impose sanctions against Plaintiff, in

    whatever manner it deems appropriate.

           Dated: April 15, 2022.

                                                         SPENCER FANE LLP

                                                         By: s/Michael J. Kaufmann
                                                             Dennis N. Lueck, Jr.
                                                             Michael J. Kaufmann
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                                       CERTIFICATE OF SERVICE

            I hereby certify that on this 15th day of April, 2022, I electronically filed the foregoing

    with the Clerk of the Court using the CM/ECF system which will send notification of such filing

    to all parties of record in this matter.

     Tiffany Grays, pro se
     legalgrays@gmail.com



                                                            s/Amy Rutherford
                                                           for Spencer Fane LLP
